Case 2:18-cv-00639-UA-NPM Document 1-1 Filed 09/26/18 Page 1 of 1 PagelD 17
IS44 (Rev. 08/16) CIVIL COVER SHEET

The JS 44 civil coverSheeTamd the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

 

L, cy PLAINTIFFS DEFENDANTS
GREY OAKS COUNTRY CLUB, INC., ZURICH AMERICAN INSURANCE COMPANY
(b) County of Residence of First Listed Plaintiff Collier County, Florida County of Residence of First Listed Defendant
(EXCEPT IN U.S, PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY)

NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

(<) Attorneys (Firm Name, Address, and Telephone Number) Attorneys (/f Known)
Walter J. Andrews, Esq., Michael J. Mueller, Esq., Cary D. Steklof, Esq.

Hunton Andrews Kurth LLP, 1111 Brickell Ave., Suite 2500, Miami, FL
33131, (305) 810-2500

 

 

 

 

 

 

 

  

 

 

 

   
 
   

 

 

 

 

II. BASIS OF JURISDICTION (Place an “X" in One Box Only) Il. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X”" in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
O11 US. Government GO 3. Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State gq} © 1 Incorporated or Principal Place a4 o4
of Business In This State
O 2. US. Government M4 Diversity Citizen of Another State O 2 © 2 Incorporated and Principal Place aos os
Defendant (Indicate Citizenship of Parties in Item Il) of Business In Another State
Citizen or Subject of a O 3 O 3 Foreign Nation 06 O86
Foreign Country
IV. NATURE OF SUIT (Piace an “X" in One Box Only) Click here for: Nature of Suit Code Descriptions.
[CONTRACT TORTS FORFEITURE/PENALTY. BANKRUPTCY. OTHER STATUTES]
&% 110 Insurance PERSONAL INJURY PERSONAL INJURY D 625 Dmg Related Seizure O) 422 Appeal 28 USC 158 0 375 False Claims Act
C120 Marine © 310 Airplane © 365 Personal Injury - of Property 21 USC 881 |O0 423 Withdrawal O 376 Qui Tam (31 USC
O 130 Miller Act © 315 Airplane Product Product Liability 0 690 Other 28 USC 157 372%(a))
O 140 Negotiable Instrument Liability 0 367 Health Care/ OF 400 State Reapportionment
O 150 Recovery of Overpayment | © 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS O 410 Antitrust
& Enforcement of Judgment Slander Personal Injury OC 820 Copyrights =f Gy 430 Banks and Banking
© 151 Medicare Act © 330 Federal Employers’ Product Liability © 830 Patent ee | C7 450 eamerce
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of Veteran's Benefits © 350 Motor Vehicle © 370 Other Fraud Act O 862 Black Lung (923) = O 490 Bable/Sat TV &
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© 190 Other Contract Product Liability O 380 Other Personal Relations O 864 SSID Title XVI 4) 4 Exchange —
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O 362 Personal Injury - Product Liability Leave Act © 893 Environmental Matter:
Medical Malpractice © 790 Other Labor Litigation o = a 895Fredom of Infor
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© 220 Foreclosure 6 441 Voting 6 463 Alien Detainee or Defendant) =" 10 899 Administrative Procedure
O 230 Rent Lease & Ejectment O 442 Employment 0 510 Motions to Vacate O 871 IRS—Third Party Act/Review or Appeal of
G 240 Torts to Land O 443 Housing/ Sentence 26 USC 7609 Agency Decision
© 245 Tort Product Liability Accommodations O 530 General OG 950 Constitutionality of
© 290 All Other Real Property O 445 Amer. w/Disabilities -] 0 535 Death Penalty IMMIGRATION State Statutes
Employment Other: © 462 Naturalization Application
O 446 Amer. w/Disabilities -| 540 Mandamus & Other | 465 Other Immigration
Other © 550 Civil Rights Actions
O 448 Education © 555 Prison Condition
6 560 Civil Detainee -
Conditions of
Confinement

 

 

 

 

 

 

V. ORIGIN (Pace an "X" in One Box Only)

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Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File

 

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):

28 U.S.C. § 1332, 28 U.S.C. § 1391

Brief description of cause:
Breach of Contract

 

VI. CAUSE OF ACTION

 

 

 

VII. REQUESTED IN O CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R-Cv.P. JURY DEMAND: Yes No
VII. RELATED CASE(S)
(See instructions):
IF ANY JUDGE _____ DOCKET NUMBER

DATE SIGNATURE OF ATTORNEY OF RECORD T Ni hyn
9/26/2018 /s/Walter J. Andrews
FOR OFFICE USE ONLY Wy
Re ‘OFIPT auf{fVol 205 _ APPLYING IEP —_ JUDGE MAG. JUDGE
: SUMMONS ISSUE
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